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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ZACHARY CARL ROTH, et al.,

                        Plaintiffs,

                        v.                             Case No. 1:19-cv-02179 (TNM)

 ISLAMIC REPUBLIC OF IRAN,

                        Defendant.


                                             ORDER

        Before the Court is Plaintiffs’ motion for default judgment. See ECF No. 43. In a recent

status conference, the Court identified several issues with Plaintiffs’ evidence that required

additional testimony from Plaintiffs’ expert, Michael Pregent. Plaintiffs’ counsel indicated his

desire to supplement the record with new evidence from Mr. Pregent in an evidentiary hearing.

The Court scheduled the hearing for February 16, 2022.

        A week later, Plaintiffs filed a motion to continue the evidentiary hearing because Mr.

Pregent needs additional time to prepare. See Mot. to Continue Hearing, ECF No. 87. However,

Mr. Pregent is not available anytime soon. See id. ¶ 8. Plaintiffs also indicate a desire to provide

additional materials in support of their effort to obtain default judgment. The Court will

therefore deny the motion for default judgment without prejudice. Plaintiffs must file their new

default judgment motion along with any relevant supporting documentation on or before May 2,

2022.

        For the foregoing reasons, it is hereby

        ORDERED that Plaintiffs’ [43] Motion for Default Judgment is DENIED WITHOUT

PREJUDICE to Plaintiffs refiling on or before May 2, 2022; and it is also
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       ORDERED that Plaintiffs’ [50] Motion to Appoint a Special Master and [87] Motion to

Continue Hearing are DENIED as moot.

       SO ORDERED.




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Dated: February 7, 2022                          TREVOR N. McFADDEN
                                                 United States District Judge




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